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AO 91 (Rev. 11/11) Criminal Complaint (Rev. by USAO on 3/12/20)         ‫ ܆‬Original    ‫ ܆‬Duplicate Original

           LODGED
    CLERK, U.S. DISTRICT COURT
                                    UNITED STATES DISTRICT COURT
                                                                                                    FILED
                                                                                        CLERK, U.S. DISTRICT COURT
    3/20/2025                                            for the
 CENTRAL DISTRICT OF CALIFORNIA
              MMC
  BY: ____________BB______ DEPUTY
                                            Central District of California
                                                                                             
 United States of America
                                                                                     CENTRAL DISTRICT OF CALIFORNIA
                    v.                                                                                  MP DEPUTY
                                                                                       BY: ___________________
 ANTONIO ESPINOZA ZARATE,
    aka “El Gato,”                                                 Case No.    2:25-MJ-01662-DUTY
    aka “Antonio Espinoza Sarate,”
    aka “Armado Mendez,”

                    Defendant.


                                  CRIMINAL COMPLAINT BY TELEPHONE
                                 OR OTHER RELIABLE ELECTRONIC MEANS
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

On or about the date(s) of July 11, 2023, August 15, 2023, and February 7, 2025, in the county of Los Angeles

in the Central District of California, the defendant(s) violated:

           Code Section                                            Offense Description
           21 U.S.C. § 841(a)(1)                                   Possession with the Intent to
                                                                   Distribute a Controlled Substance
           8 U.S.C. § 1326(a), (b)(2)                              Illegal Reentry of a Removed Alien

         This criminal complaint is based on these facts: Please see attached affidavit.

         _ Continued on the attached sheet.

                                                                        /s/ Shabnam Aboubakri, Special Agent
                                                                                 Complainant’s signature

                                                                         Shabnam Aboubakri, Special Agent
                                                                                  Printed name and title
 Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by telephone.

 Date:                   3/21/2025
                                                                                     Judge’s signature

 City and state: Los Angeles, California                            Hon. 0LFKDHO%.DXIPDQ, U.S. Magistrate Judge
                                                                                 Printed name and title

AUSA:___Diane Roldán (x6567)___________________
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                                AFFIDAVIT

     I, Shabnam Aboubakri, being duly sworn, declare and state

as follows:

                         I. PURPOSE OF AFFIDAVIT

     1.    This affidavit is made in support of a criminal

complaint against and arrest warrant for Antonio Espinoza Zarate

(“ZARATE”), also known as “El Gato,” also known as “Antonio

Espinoza Sarate,” also known as “Armado Mendez,” charging him

with violating Title 21, United States Code, § 841(a)(1)
(Possession with the Intent to Distribute a Controlled

Substance) and Title 8, United States Code, § 1326(a), (b)(2)

(Illegal Reentry of a Removed Alien).

     2.    This affidavit is also made in support of search

warrants to search the following:

           a.    The person of ZARATE, and any digital devices

recovered thereon, as described in Attachment A-1;

           b.    The person of Francisco Javier Espinoza Galindo

(“Galindo”), and any digital devices recovered thereon, as
described in Attachment A-2; and

           c.    Galindo’s 2013 Audi bearing California license

plate 6ZAG219 (“SUBJECT VEHICLE”), as described in Attachment A-

3.

     3.    The requested search warrants seek authorization to

seize evidence, fruits, or instrumentalities of violations of 8

U.S.C. § 1326 (Illegal Reentry of a Removed Alien); 18 U.S.C.

§§ 922(a)(1)(A) (Unlicensed Dealing in Firearms), 922(g)(1)

(Felon in Possession of a Firearm or Ammunition), 922(g)(5)

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(Illegal Alien in Possession of a Firearm), 924(c) (Possession

of a Firearm in Furtherance of a Drug Trafficking Crime); 21

U.S.C. §§ 331(i)(3) (Sale of Counterfeit Drugs), 841(a)(1)

(Distribution and Possession with the Intent to Distribute a

Controlled Substance), 846 (Conspiracy to Distribute Controlled

Substances), and 860 (Distribution of a Controlled Substance in

or Near Schools) (the “Subject Offenses”), as described in

Attachment B.    Attachments A-1 through A-3 and B are

incorporated herein by reference.

     4.      The facts set forth in this affidavit are based upon

my personal observations, my training and experience, and

information obtained from various law enforcement personnel and

witnesses.    This affidavit is intended to show that there is

sufficient probable cause for the requested complaint and

warrants and does not purport to set forth all my knowledge of

or investigation into this matter.         Unless specifically

indicated otherwise, all conversations and statements described

in this affidavit are related in substance and in part only.

                         II. BACKGROUND OF AFFIANT
     5.      I am a Special Agent (“SA”) with the United States

Department of Homeland Security (“DHS”), Immigration and Customs

Enforcement (“ICE”), Homeland Security Investigations (“HSI”),

and have been so employed since February 2022.             I am currently

assigned to the HSI office in Paramount, California, where I

work with the El Camino Real Task Force.

     6.      Before my current employment with HSI, I served as a

Criminal Analyst with HSI from October 2016 until February 2022.

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Prior to becoming a Criminal Analyst, I served on Active Duty in

the United States Coast Guard as an Intelligence Specialist from

August 2010 until October 2016.       I graduated from the Criminal

Investigator Training Program at the Federal Law Enforcement

Training Center in May 2022.

        7. During my employment with HSI, I have been trained on

and participated in investigations that involve drug

trafficking.    I have received training involving use,

possession, packaging, manufacturing, sales, concealment, and

transportation of various controlled substances, money

laundering techniques, and conspiracy investigations.             I have

participated in narcotics investigations and have debriefed

defendants and witnesses who had personal knowledge of narcotics

trafficking organizations.

     8.    Through my training, experience, and interaction with

other law enforcement officers, I am familiar with the

concealment methods employed by individuals involved in drug

trafficking and how they use digital devices to facilitate and

conceal their crimes.     I am also familiar with conducting

physical surveillance, executing search warrants, directing

confidential informants, and conducting arrests.            Based on my

training and experience, I am familiar with narcotics

traffickers’ methods of operation, including the distribution,

storage, and transportation of narcotics and the collection and

laundering of drug trafficking proceeds.          I am also familiar

with methods employed by drug traffickers and large-scale drug

trafficking organizations to impede detection by law

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enforcement, including the use of coded language, counter-

surveillance, multiple vehicles, prepaid or debit calling cards,

cellular telephone technology, false or fictitious identities,

and encoded communications.

     9.    During my employment with HSI, I have also received

training and acquired experience in reading DHS “A-Files” and

other immigration records.

                    III. SUMMARY OF PROBABLE CAUSE

     10.   Since 2023, HSI has been investigating a drug and gun-

trafficking conspiracy involving ZARATE and his son, Galindo.

ZARATE has multiple felony convictions, is an illegal alien who

has been previously removed from the United States on multiple

occasions, and is not a federally-licensed firearms dealer.                 The

SUBJECT VEHICLE is registered to Galindo.

     11.   On July 11, 2023, ZARATE sold a pistol, a rifle, 131

rounds of ammunition, and approximately 527.42 grams of fentanyl

pills to a confidential informant (the “CI”)1, working at the
direction of HSI.        The sale occurred at the registered address

for the SUBJECT VEHICLE.        During the meeting, ZARATE had told

the CI that Galindo would supply the fentanyl pills, which

ZARATE later gave to the CI.



     1 The CI does not have legal immigration status in the
United States and is cooperating with law enforcement in hopes
of receiving immigration benefits. The CI has previously
sustained misdemeanor convictions for driving with suspended
license. The CI has been paid $3,000.00 during the time he has
worked as a CI for HSI. The CI’s information has been
corroborated throughout the investigation and deemed to be
credible and reliable. The CI’s information has led to the
seizure of drugs, money, and guns in the past.
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     12.   On August 15, 2023, ZARATE sold an AR-style rifle and

approximately 1.06 kilograms of fentanyl pills in a U.S. Post

Office (“USPS”) envelope to an undercover agent (“UCA”).              Law

enforcement saw Galindo retrieve the USPS envelope from a parked

car, and give it to ZARATE, who then gave it to the UCA.              The

sale occurred at the registered address of the SUBJECT VEHICLE.

     13.   On January 16, 2025, ZARATE sold a rifle, a pistol, a

revolver, and ammunition to the CI.

     14.   On February 7, 2025, ZARATE sold approximately 550.63

grams of fentanyl pills to the CI.        At the same meeting, law

enforcement saw ZARATE in the SUBJECT VEHICLE with Galindo.

                    IV. STATEMENT OF PROBABLE CAUSE
     A.    ZARATE Is a Felon and Is Not a Licensed Firearm
           Dealer.

     15.   Based on certified conviction records, ZARATE has the

following felony convictions:

           a.    On March 17, 2008, ZARATE was sentenced to serve

two years in state prison following his March 10, 2008,

conviction of a violation of California Health and Safety Code

§ 11351, Possession of Narcotic Control Substance for Sale, in

the Superior Court of California, County of Los Angeles, case

number SA066064-01, under the name Antonio Espinoza Sarate.

           b.    On April 12, 2012, ZARATE was sentenced to

probation following his April 12, 2012, conviction of a

violation of California Health and Safety Code § 11350(A),

Possession of a Controlled Substance, in the Superior Court of




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California, County of Los Angeles, case number SA0675487, under

the name Armado Mendez.

           c.    On April 26, 2012, ZARATE was sentenced to 30

days in jail following his April 26, 2012, conviction of a

violation of California Health and Safety Code § 11350(A),

Possession of a Controlled Substance, in the Superior Court of

California, County of Los Angeles, case number SA075487, under

the name Antonio Zarate, aka Armando Mendez.

           d.    On June 2, 2015, ZARATE was sentenced to 36

months in prison following his March 25, 2015, conviction of a

violation of 8 U.S.C. § 1326(a), (b)(1), Illegal Reentry of a

Removed Alien, in the United States District Court for the

District of Arizona, case number 15-CR-00007-001-PHX-SRB, under

the name Antonio Espinoza-Zarate.

     16.   Based on a search of the Bureau of Alcohol, Tobacco,

Firearms and Explosives (“ATF”) Federal Licensing System

database, ZARATE is not licensed to engage in the business of

dealing in firearms.     I confirmed this through conversations
with ATF agents and by examining screenshots showing no results

in the Federal Licensing System database for ZARATE’s name.

     B.    ZARATE Is an Illegal Alien Who Has Been Previously
           Removed on Multiple Occasions

     17.   In the 2015 plea agreement for ZARATE’s conviction for

Illegal Reentry of a Removed Alien, available on PACER under

case number 2:15-cr-00007-SRB, docket number 26, ZARATE

admitted: “I am not a citizen or national of the United States.

I was removed from the United States through San Ysidro,


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California, on October 29, 2014.            I was voluntarily present and

found in the United States at or near Wellton, Arizona, on

November 7, 2014.        I did not obtain the express consent of the

United States government to reapply for admission to the United

States prior to returning to the United States.              For sentencing

purposes, I admit I was convicted of Possess/Purchase for Sale a

Narcotic or Controlled Substance, a felony, on March 17, 2008,

in the Superior Court of California, Los Angeles County.                I was

represented by an attorney, and I was sentenced to 2 years in

prison.”

     18.    Based on my training and experience, I know that a DHS

“A-File” is a file in which immigration records are maintained

for aliens admitted to or found in the United States.               I also

know that a DHS A-File usually contains photographs,

fingerprints, court records of conviction, and records relating

to deportation or other actions by INS or DHS with respect to

the subject alien for whom the DHS A-File is maintained.

     19.    I have obtained and reviewed the DHS A-File AXXXXXXXX

(the “DHS A-File”), which is maintained for the subject alien

“Antonio Espinoza-Zarate” (ZARATE).            The DHS A-File contained

the following documents and information:

            a.   Photographs of the subject alien to whom this

specific DHS A-File corresponded.           I compared the photographs in

the DHS A-File to photographs taken of ZARATE during the course

of this investigation.        In addition, the A-File repeatedly

refers to a FINS, or fingerprint identification number, of

18054528.   This same fingerprint identification number

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corresponds with ZARATE’s criminal history records and HSI law

enforcement databases.      I thus determined that this DHS A-File

and its contents corresponded to ZARATE.

           b.    A Warrant of Removal / Deportation (Form I-205),

indicating that ZARATE was officially removed from the United

States on or about June 24, 2017.         I know from my training and

experience that a Warrant of Removal is executed each time a

subject alien is removed and excluded from the United States by

ICE (and its predecessor agency, INS) and usually contains the

subject’s photograph, signature, and fingerprint.            The executed

Warrant of Removal/Deportation in defendant’s DHS A-File

contained his photograph, signature, and fingerprint.

           c.    A Warrant of Removal / Deportation (Form I-205),

indicating that ZARATE was officially removed from the United

States on or about October 29, 2014.         The executed Warrant of

Removal/Deportation in defendant’s DHS A-File contained his

photograph, signature, and fingerprint.

           d.    A Warrant of Removal / Deportation (Form I-205),

indicating that ZARATE was officially removed from the United

States on or about February 7, 2013.         The executed Warrant of

Removal/Deportation in defendant’s DHS A-File contained his

photograph, signature, and fingerprint.

           e.    A Warrant of Removal / Deportation (Form I-205),

indicating that ZARATE was officially removed from the United

States on or about July 14, 2010.         The executed Warrant of

Removal/Deportation in defendant’s DHS A-File contained his

photograph, signature, and fingerprint.

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             f.   Various documents, in addition to the Warrants of

 Removal/Deportation, indicating that defendant is a native and

 citizen of Mexico.       For example, the DHS A-File contains a

 sworn, Mirandized statement by ZARATE, executed on November 8,

 2014, attesting: “I was born on 01/13/1970 in Oaxaca, Oaxaca,

 Mexico … I have not applied to the Attorney General of the

 United States or the Secretary of the Department of Homeland

 Security for permission to re-enter the United States after my

 removal.”

      20.    Based on my review of defendant’s DHS A-File, I

 determined that it does not contain any record of his ever

 applying for, or receiving from the Attorney General or the

 Secretary of Homeland Security, permission to re-enter the

 United States.    Based on my training and experience, I know that

 such documentation is required to re-enter the United States

 legally after deportation, and that if such documentation

 existed, it would ordinarily be found in defendant’s DHS A-File.

      C.     On June 15, 2023, ZARATE Offered to Sell Drugs to a CI

      21.    In June 2023, a CI informed HSI that a drug trafficker

 known as “Gato” (later identified as ZARATE) was interested in

 selling fentanyl.       ZARATE wanted to meet the CI in person to

 establish the CI’s credibility.

      22.    On June 15, 2023, HSI conducted an operation for the

 purpose of arranging the in-person meeting between the CI and

 ZARATE.    Prior to the meeting, HSI provided the CI with a video

 and audio-recording devices, which subsequently captured

 portions of the meeting.

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         23.    ZARATE arranged to meet the CI in an alley outside of

 a detached garage labeled “D” located at 3988 S. Centinela Ave,

 Los Angeles, CA 90066.       This is the registered address of the

 SUBJECT VEHICLE.      The SUBJECT VEHICLE is registered to Galindo.

         24.    During the June 15, 2023, meeting, ZARATE told the CI

 he could get larger quantities of drugs but did not want to deal

 in smaller personal use quantities.          ZARATE also told the CI

 that if the CI wanted anything he would order it on short

 notice.       ZARATE also said that they could talk in code if the CI

 wanted to order drugs.       The CI asked if ZARATE could get the

 pills in colors; in response, ZARATE asked if he could make a

 call.

         25.    Based on toll records, ZARATE proceeded to make a

 phone call to the phone number (310) 341-5849, which is

 subscribed to Galindo.       After the call, ZARATE told the CI that

 his son did not answer and that it had gone to voicemail.               The

 CI then left the meeting area.        After the CI departed, ZARATE

 called the CI back and stated that his son (Galindo) had called

 back.    ZARATE reported that his son only had blue pills and not

 the colorful ones.

         26.    During the June 15, 2023, meeting, the CI obtained two

 photographs of ZARATE, which law enforcement used to confirm his

 identity by comparison to prior arrest records.             One of these

 photographs is included in Attachment A-1.




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      D.     On July 11, 2023, ZARATE Sold Two Firearms,
             Ammunition, and Fentanyl Pills to the CI.

      27.    On July 11, 2023, ZARATE sold the CI fentanyl pills,

 ammunition, and two firearms at the registered address of the

 SUBJECT VEHICLE.

             1.    ZARATE Sold Firearms, Ammunition, and Fentanyl
      28.    In July 2023, in the days leading up to the purchase,

 the CI communicated with ZARATE in several recorded calls

 conducted in Spanish.     In the calls, ZARATE agreed to sell a

 rifle, a pistol, and ammunition to the CI for $1,700.             ZARATE

 also agreed to sell approximately 5,000 blue fentanyl pills to

 the CI for $4,500.      They agreed to meet on July 11, 2023, at the

 same location as their prior meeting (on June 15, 2023), which

 is the registered address of the SUBJECT VEHICLE.

      29.    On July 11, 2023, law enforcement coordinated a

 controlled purchase of firearms, ammunition, and drugs from

 ZARATE using the CI.     Prior to the operation, law enforcement

 met with the CI and affixed hidden video and audio-recording

 devices to the CI’s person, which recorded portions of the

 interaction.     Law enforcement also searched the CI’s person and

 found that the CI did not have any weapons or drugs.

      30.    When the CI arrived at the meet location, ZARATE was
 sitting in detached garage labeled “D” located at 3988 S.

 Centinela Ave, Los Angeles, CA 90066.         ZARATE informed the CI

 that he had the rifle ready, but that he needed to pick up the

 pistol.    The following are still images of the CI’s hidden

 camera recording showing ZARATE retrieving the rifle.


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      31.     ZARATE also said that his son was going to get the

 fentanyl pills and would be back in approximately 30 minutes.

 Law enforcement observed a young Hispanic male matching the

 description of Galindo leaving 3988 S Centinela Ave Los Angeles,

 CA 90066; he arrived back at the garage approximately one hour

 later and walked into the garage labeled D with ZARATE.               Shortly

 after, Galindo walked out of the garage and went back inside

 Apartment D.    ZARATE then presented a white bag and long tan bag

 to the CI.     The CI inspected the contents of the white bag and

 saw a small pistol and five small bags of blue fentanyl pills

 inside.    The CI also opened the long tan bag and saw a rifle-

 style firearm inside.

      32.     The CI placed all of the items in the rear of the CI’s

 vehicle.    The CI then paid ZARATE $6,200 in cash for the

 firearms and drugs and left the area.

      33.     Following the controlled purchase, law enforcement met

 with the CI at a pre-determined location.             The CI gave law


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 enforcement the pills, ammunition, pistol, and rifle ZARATE had

 sold to the CI.

      34.   HSI determined the ZARATE had sold the CI (1) one bolt

 action rifle, bearing serial number 18565; (2) one Glock pistol,

 bearing serial number BPV056 US; (3) 131 rounds of assorted

 ammunition; and (4) one rifle scope and one cloth rifle bag.

 HSI sent the firearms and ammunition to an ATF firearms

 specialist for analysis.

      35.   The pills consisted of numerous blue, round tablets,

 bearing an “M” within a box debossed on one side and a “30” and

 half-tablet score on the reverse.         They were packaged in five

 plastic bags.     HSI sent the pills to the United States Customs

 and Border Protection Laboratories and Scientific Services

 Directorate (“the CBP laboratory”) for analysis.

      36.   The image below depicts items seized during the July

 11, 2023 controlled buy from ZARATE:




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              2.   Laboratory Tests Confirmed the Pills Contained
                   Fentanyl
      37.     On July 27, 2023, the CBP laboratory issued a report

 analyzing the blue pills from ZARATE.         The CBP laboratory found

 that the five clear plastic bags contained approximately 837

 tablets, 935 tablets, 942 tablets, 938 tablets, and 940 tablets,

 respectively, for a total of approximately 4,592 pills.              Based

 on a statistical sampling of pills from each of the five bags,

 the CBP laboratory found that there is a 95% confidence that at
 least 80% of the submitted blue round tablets contained

 fentanyl.    The total net weight of the five clear plastic bags

 was approximately 527.42 grams.

              3.   An ATF Examination Confirmed an Interstate or
                   Foreign Nexus for the Firearm and Ammunition

      38.     After receiving the firearms and ammunition from HSI,

 ATF Special Agent Tiffany Lamphere examined them and issued a

 report.     Agent Lamphere concluded that the pistol was a Glock

 model 26 9mm caliber pistol, bearing serial number BPV056 US,

 which was manufactured by Glock in Austria.           In order for the

 firearm to be recovered in California, it must have moved in

 foreign commerce.

      39.     Agent Lamphere concluded that the rifle was a Palmetto

 Armory model PA-15 multi-caliber rifle bearing serial number

 SCD585064, which was manufactured by DC Machine LLC in South

 Carolina.    In order for the firearm to be recovered in

 California, it must have moved in interstate commerce.

      40.     In addition, Agent Lamphere examined each of the 131

 rounds of ammunition from ZARATE’s sale and concluded that each

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 round was manufactured outside of the state of California, and

 so to have been recovered in California, they must have moved in

 interstate or foreign commerce.

             4.   The Deal Occurred Nearby Several Schools
      41.    A review of publicly available maps of the area ZARATE

 chose for the firearms and narcotics deal to occur, 3988 S

 Centinela Ave, Los Angeles, CA 90066 (the “Deal Location”)

 revealed:

             a.   The Deal Location is approximately 175 meters
 southwest of an elementary school located at the intersection of

 Washington Place and Grand View Boulevard.

             b.   The Deal Location is approximately 172 meters

 south of a special education school located at the intersection

 of Centinela Avenue and Mitchell Avenue.

             c.   The Deal Location is approximately 310 meters

 south of an elementary school located on Grand View Boulevard

 between Pacific Avenue and Mitchell Avenue.

      E.     On August 15, 2023, ZARATE Sold an AR-style Rifle,
             Ammunition, and Fentanyl Pills to an Undercover Agent
      42.    On August 15, 2023, ZARATE sold a UCA an AR-style

 rifle, ammunition, and fentanyl pills at the registered address

 of the SUBJECT VEHICLE.      Galindo supplied the USPS mailing

 envelope containing the fentanyl pills.

             1.   ZARATE Sold a Rifle, Ammunition, and Fentanyl
      43.    Following the July 11, 2023, controlled purchase, the

 CI, at the direction of HSI, contacted ZARATE again in recorded

 calls to introduce an Undercover Agent (“UCA”).            The UCA then


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 contacted ZARATE via recorded phone calls and WhatsApp messaging

 on or about August 14, 2023.         The UCA confirmed a date to meet

 ZARATE and purchase fentanyl pills and a rifle.

      44.     On August 15, 2023, the UCA met ZARATE at the same

 location as the two previous encounters with ZARATE, the

 registered address of the SUBJECT VEHICLE.             ZARATE showed the

 UCA a black rifle case with an AR-15 style rifle and two

 magazines.    ZARATE informed the UCA he could get more firearms

 within a week or two.     ZARATE told the UCA that the source of

 supply with the fentanyl would be there shortly.             The UCA then

 paid ZARATE $2,000 cash for the rifle.

      45.     Law enforcement was conducting surveillance nearby and

 saw Galindo on the staircase leading up to the second floor of

 3988 S Centinela Ave.     A short while later, Galindo walked down

 the staircase to the intersection of Centinela Avenue and

 Mitchell Avenue; he appeared to be texting and making phone

 calls.    ZARATE then made a call to the suspected source of

 supply for the fentanyl pills asking for an update on the

 sources anticipated arrival time.

      46.     Shortly thereafter, a Kia SUV parked along the curb

 near Galindo.    Galindo opened the Kia’s rear passenger door and

 retrieved a USPS envelope, which appeared to have something

 inside.    Galindo then walked to the garage where ZARATE and the

 UCA were standing and Galindo handed the USPS envelope to

 ZARATE.    ZARATE then gave the USPS envelope to the UCA.             The UCA

 confirmed that there were blue pills inside the USPS package.

 The UCA then gave ZARATE $8,000 cash as payment for the pills.

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      47.   After the operation, the UCA brought the pills and

 rifle from ZARATE to HSI agents.          HSI determined that the rifle

 was a Palmetto State Armory PA-15 5.56 mm caliber AR-type rifle

 bearing serial number SCD585064.          The rifle case also contained

 two Magpul P-Mag 5.56 mm 30-round rifle magazines.

      48.   The fentanyl pills consisted of numerous blue, round

 tablets, bearing an “M” within a box debossed on one side and a

 “30” and half-tablet score on the reverse.            The image below

 depicts items seized during the August 15, 2023 controlled buy

 from ZARATE.




            2.    Laboratory Tests Confirmed the Pills Contained
                  Fentanyl

      49.   On September 14, 2023, the CBP laboratory issued a

 report analyzing the blue pills from ZARATE.            The CBP laboratory

 found that the large plastic bag contained approximately 9826

 tablets.   Based on a statistical sampling of pills from the bag,

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 the CBP laboratory found that there is a 95% confidence that at

 least 70% of the submitted blue round tablets contained

 fentanyl.   The total net weight of the plastic bag was

 approximately 1.06 kilograms.

      F.     On January 16, 2025, ZARATE sold a rifle, a pistol, a
             revolver, and ammunition to a CI.

      50.    On January 16, 2025, ZARATE sold the CI a rifle, a

 pistol, a revolver, and ammunition at the registered address of

 the SUBJECT VEHICLE.

             1.    ZARATE Sold a CI Firearms and Ammunition
      51.    On January 14, 2025, the CI reported to HSI that

 ZARATE had contacted the CI.         ZARATE offered to sell the CI a

 rifle and pistol style handgun for $2,300.             On January 15, 2025,

 ZARATE sent the CI a picture and video of the guns he had for

 sale via text message.      A screenshot of those text messages is

 depicted below:

 //

 //




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      52.   With assistance from ATF and the Los Angeles Police

 Department (“LAPD”), HSI arranged for the CI to set a date with

 ZARATE to purchase the firearms.

      53.   Prior to the meeting time, law enforcement affixed a

 hidden audio recording device on the CI’s person, which captured

 portions of the interaction.         Law enforcement searched the CI’s

 person and found that the CI was not armed.            Law enforcement

 also established surveillance at the meeting location.



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      54.    On January 16, 2025, law enforcement saw ZARATE exit

 an apartment located at 3988 S. Centinela Ave Los Angeles, CA

 90066.    The CI then met with ZARATE in the alley outside of the

 garage.    After greeting the CI, ZARATE went back into the same

 apartment and exited with a large duffle bag.             ZARATE gave the

 duffle bag to the CI.     The CI inspected the contents of the bag

 and saw a rifle, a pistol style handgun, a revolver, and

 ammunition.    The CI then left the area.

      55.    After the operation, the CI provided the handgun,

 revolver, and ammunition to law enforcement, which then provided

 them to ATF for examination.         Below is a picture of the firearms

 and ammunition sold by ZARATE:




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             2.   An ATF Examination Confirmed an Interstate or
                  Foreign Nexus for the Firearms and Ammunition
      56.    After receiving the firearms and ammunition from law

 enforcement, ATF Special Agent Lamphere examined them and issued

 a report.   Agent Lamphere concluded that the rifle was a

 Palmetto Armory model M4A1, 5.56 NATO caliber rifle bearing

 serial number W036459, which was manufactured by DC Machine LLC

 in South Carolina.      In order for the firearm to be recovered in

 California, it must have moved in interstate commerce.
      57.    Agent Lamphere concluded that the pistol was a Glock

 model 27 .40 S&W caliber pistol bearing serial number AGPW920,

 which was manufactured by Glock in Georgia.           In order for the

 firearm to be recovered in California, it must have moved in

 interstate commerce.

      58.    Agent Lamphere concluded that the revolver was a Rossi

 model m68 .38 Special caliber revolver bearing serial number

 D444158, which was manufactured by Rossi in Brazil.             In order

 for the firearm to be recovered in California, it must have
 moved in foreign commerce.

      59.    In addition, Agent Lamphere examined each of the 46

 rounds of ammunition from ZARATE’s sale and concluded that each

 round was manufactured outside of the state of California, and

 so to have been recovered in California, they must have moved in

 interstate or foreign commerce.

      G.     On February 7, 2025, ZARATE Sold Fentanyl Pills to a
             CI from the SUBJECT VEHICLE, Driven by Galindo.

      60.    On February 7, 2025, ZARATE sold the CI 4,693

 counterfeit Oxycodone pills containing fentanyl.            At the meeting

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 location, law enforcement saw ZARATE and Galindo in the SUBJECT

 VEHICLE.

            1.    Zarate Sold Fentanyl Pills to the CI
      61.   On February 6, 2025, the CI communicated with ZARATE

 via recorded calls and text messages regarding the purchase of

 5,000 fentanyl pills.     ZARATE agreed on $1.25 per pill.           On

 February 7, 2025, ZARATE told the CI to meet him at a different

 location from the previous buys.          This time, ZARATE asked the CI

 to meet him in Culver City, CA and to park in front of a
 discount clothing store.

      62.   Prior to the arranged time for the meeting between

 ZARATE and the CI, the CI met privately with law enforcement.

 Law enforcement searched the CI and confirmed that the CI did

 not have any drugs.     Law enforcement also affixed a hidden audio

 and video recording device on the CI’s person.

      63.   On February 7, 2025, at the pre-arranged time, the CI

 arrived at the meet location by car.         The CI’s hidden video

 camera then recorded ZARATE approaching the CI’s car:




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      64.   ZARATE then handed the CI a red Nike shoe box.              The CI

 opened the shoe box and saw five clear plastic bags containing

 numerous blue, round tablets, bearing an “M” within a box

 debossed on one side and a “30” and half-tablet score on the

 reverse.   The CI then gave ZARATE $6,000 in cash.2            The CI’s

 video recording shows the CI receiving the red Nike shoe box,

 and giving ZARATE a large stack of $100 bills.

      65.   After the transaction, law enforcement briefly lost
 visual on ZARATE.       Moments later, law enforcement saw a Hispanic

 male (later identified as Galindo) enter the SUBJECT VEHICLE,

 which bore a California license plate number 6ZAG219.              Law

 enforcement then saw ZARATE exit the driver’s seat of the

 SUBJECT VEHICLE, speak briefly with another person, and return

 to the SUBJECT VEHICLE’s driver’s seat.           Based on a DMV records

 check, the SUBJECT VEHICLE was registered to “Francisco J.

 Espinoza” (Galindo), at 3988 S. Centinela Ave, Unit D, Los

 Angeles.   Law enforcement identified the Hispanic male who

 entered the passenger side of the SUBJECT VEHICLE as Galindo by
 comparing his appearance with his California driver’s license

 photograph.

      66.   Law enforcement followed the SUBJECT VEHICLE as it

 returned to 3988 S. Centinela Avenue, the SUBJECT VEHICLE’s

 registered address.      There, law enforcement saw ZARATE place


      2 Although the negotiated price for this purchase of
 evidence was $1.25 per tablet, the CI only provided ZARATE
 $6,000 in cash. During this operation the CI told ZARATE that
 he would pay the $250 balance of the amount owed on a subsequent
 purchase.
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 what appeared to be money or a small object next to Apartment D,

 and then return to the SUBJECT VEHICLE and depart.             Law

 enforcement then saw the SUBJECT VEHICLE travel to Northgate

 Market in Culver City, California.        Once there, the SUBJECT

 VEHICLE parked.     Law enforcement saw Galindo now sitting in the

 driver’s seat, depicted below:




         67.   Meanwhile, immediately, after the transaction, the CI

 left the area and met with law enforcement at a pre-determined

 area.    The CI had the red Nike box, which the CI gave to law

 enforcement.     Inside, law enforcement found five bags of blue

 pills.    The below image depicts items seized during the February

 7, 2025, controlled sale of drugs by ZARATE to the CI:




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            2.    Laboratory Tests Confirmed the Pills Contained
                  Fentanyl

      68.   On March 3, 2025, the CBP laboratory issued a

 laboratory report regarding its analysis of the blue pills.              The

 CBP laboratory found that the five clear plastic bags contained

 approximately 943 tablets, 937 tablets, 936 tablets, 947

 tablets, and 930 tablets, respectively, for a total of

 approximately 4,693 pills.      Based on a statistical sampling of

 pills from each of the five bags, the CBP laboratory found that

 there is a 95% confidence that at least 90% of the submitted

 blue round tablets contained fentanyl.          The total net weight of

 the five clear plastic bags was approximately 550.63 grams.

            3.    The Fentanyl Pills Are Counterfeit Drugs

      69.   The following image is a close-up of the blue pills

 sold by ZARATE, showing an “M” inside a box on one side of the

 pills, and “30” on the other side:




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      70.   On February 11, 2025, agents provided photos of the

 tablets received from ZARATE to representatives of SpecGx LLC, a

 subsidiary of Mallinckrodt Pharmaceuticals PLC (“Mallinckrodt”).

 Mallinckrodt is the authorized manufacturer of Oxycodone 30 mg

 tablets bearing an “M” within a box debossed on one side and a
 “30” and half-tablet score on the reverse.            These logos are

 marks registered with the United States Patent and Trademark

 Office.

      71.   On February 12, 2025, agents received a certification

 from Mallinckrodt indicating that the tablets depicted, which

 were purported to contain fentanyl, were not manufactured with

 Mallinckrodt’s authorization.        Mallinckrodt also confirmed that

 fentanyl is not an ingredient in any legitimately manufactured

 Oxycodone tablet, and thus any tablet bearing the “M” within a

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 box logo on one side and a “30” on the other but containing

 fentanyl is not a legitimate Oxycodone tablet.

             V. TRAINING AND EXPERIENCE ON DRUG OFFENSES
      64.   Based on my training and experience and familiarity

 with investigations into drug trafficking conducted by other law

 enforcement agents, I know the following:

      a.    Drug trafficking is a business that involves numerous

 co-conspirators, from lower-level dealers to higher-level

 suppliers, as well as associates to process, package, and
 deliver the drugs and launder the drug proceeds.            Drug

 traffickers often travel by car, bus, train, or airplane, both

 domestically and to foreign countries, in connection with their

 illegal activities in order to meet with co-conspirators,

 conduct drug transactions, and transport drugs or drug proceeds.

      b.    Drug traffickers often maintain books, receipts,

 notes, ledgers, bank records, and other records relating to the

 manufacture, transportation, ordering, sale and distribution of

 illegal drugs.    The aforementioned records are often maintained
 where drug traffickers have ready access to them, such as on

 their cell phones and other digital devices, in their vehicles,

 and in their residences.

      c.    Communications between people buying and selling drugs

 take place by telephone calls and messages, such as e-mail, text

 messages, and social media messaging applications, sent to and

 from cell phones and other digital devices.           This includes

 sending photos or videos of the drugs between the seller and the

 buyer, the negotiation of price, and discussion of whether or

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 not participants will bring weapons to a deal.            In addition, it

 is common for people engaged in drug trafficking to have photos

 and videos on their cell phones of drugs they or others working

 with them possess, as they frequently send these photos to each

 other and others to boast about the drugs or facilitate drug

 sales.

      d.     Drug traffickers often keep the names, addresses, and

 telephone numbers of their drug trafficking associates on their

 digital devices and in their residence.          Drug traffickers often

 keep records of meetings with associates, customers, and

 suppliers on their digital devices and in their residence,

 including in the form of calendar entries and location data.

      e.     Drug traffickers often use vehicles to transport their

 narcotics and may keep stashes of narcotics in their vehicles in

 the event of an unexpected opportunity to sell narcotics arises.

 Drug traffickers may maintain multiple vehicle and switch

 between vehicles to avoid detection by law enforcement.

      f.     Drug traffickers often maintain on hand large amounts

 of United States currency in order to maintain and finance their

 ongoing drug trafficking businesses, which operate on a cash

 basis.    Such currency is often stored in their residences and

 vehicles.

            VI. TRAINING AND EXPERIENCE ON FIREARMS OFFENSES
      72.    From my training, personal experience, and the

 collective experiences related to me by other law enforcement

 officers who conduct who conduct firearms investigations, I am

 aware of the following:

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            a.    Persons who possess or purchase firearms

 generally maintain records of their firearm transactions as

 items of value and usually keep them in their residence, or in

 places that are readily accessible, and under their physical

 control, such in their digital devices or in their cars.                It has

 been my experience that prohibited individuals who own firearms

 illegally will keep the contact information of the individual

 who is supplying firearms to prohibited individuals or other

 individuals involved in criminal activities for future purchases

 or referrals.    Such information is also kept on digital devices

 on their person and in backpacks or purses in their vicinity.

            b.    Many people also keep mementos of their firearms,

 including digital photographs or recordings of themselves

 possessing or using firearms on their digital devices.             These

 photographs and recordings are often shared via social media,

 text messages, and over text messaging applications.

            c.    Those who illegally possess firearms often sell

 their firearms and purchase firearms.         Correspondence between

 persons buying and selling firearms often occurs over phone

 calls, e-mail, text message, and social media message to and

 from smartphones, laptops, or other digital devices.             This

 includes sending photos of the firearm between the seller and

 the buyer, as well as negotiation of price.           In my experience,

 individuals who engage in street sales of firearms frequently

 use phone calls, e-mail, and text messages to communicate with

 each other regarding firearms that the sell or offer for sale.

 In addition, it is common for individuals engaging in the

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 unlawful sale of firearms to have photographs of firearms they

 or other individuals working with them possess on their cellular

 phones and other digital devices as they frequently send these

 photos to each other to boast of their firearms possession

 and/or to facilitate sales or transfers of firearms.

      73.    Individuals engaged in the illegal purchase or sale of

 firearms and other contraband often use multiple digital

 devices.

            VII. TRAINING AND EXPERIENCE ON DIGITAL DEVICES3
      74.    Based on my training, experience, and information from

 those involved in the forensic examination of digital devices, I

 know that the following electronic evidence, inter alia, is

 often retrievable from digital devices:

             a.   Forensic methods may uncover electronic files or

 remnants of such files months or even years after the files have

 been downloaded, deleted, or viewed via the Internet.              Normally,

 when a person deletes a file on a computer, the data contained

 in the file does not disappear; rather, the data remain on the

 hard drive until overwritten by new data, which may only occur

 after a long period of time.         Similarly, files viewed on the

 Internet are often automatically downloaded into a temporary


      3 As used herein, the term “digital device” includes any
 electronic system or device capable of storing or processing
 data in digital form, including central processing units;
 desktop, laptop, notebook, and tablet computers; personal
 digital assistants; wireless communication devices, such as
 paging devices, mobile telephones, and smart phones; digital
 cameras; gaming consoles; peripheral input/output devices, such
 as keyboards, printers, scanners, monitors, and drives; related
 communications devices, such as modems, routers, cables, and
 connections; storage media; and security devices.
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 directory or cache that are only overwritten as they are

 replaced with more recently downloaded or viewed content and may

 also be recoverable months or years later.

            b.    Digital devices often contain electronic evidence

 related to a crime, the device’s user, or the existence of

 evidence in other locations, such as, how the device has been

 used, what it has been used for, who has used it, and who has

 been responsible for creating or maintaining records, documents,

 programs, applications, and materials on the device.             That

 evidence is often stored in logs and other artifacts that are

 not kept in places where the user stores files, and in places

 where the user may be unaware of them.          For example, recoverable

 data can include evidence of deleted or edited files; recently

 used tasks and processes; online nicknames and passwords in the

 form of configuration data stored by browser, e-mail, and chat

 programs; attachment of other devices; times the device was in

 use; and file creation dates and sequence.

            c.    The absence of data on a digital device may be

 evidence of how the device was used, what it was used for, and

 who used it.    For example, showing the absence of certain

 software on a device may be necessary to rebut a claim that the

 device was being controlled remotely by such software.

            d.    Digital device users can also attempt to conceal

 data by using encryption, steganography, or by using misleading

 filenames and extensions.      Digital devices may also contain

 “booby traps” that destroy or alter data if certain procedures

 are not scrupulously followed.       Law enforcement continuously

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 develops and acquires new methods of decryption, even for

 devices or data that cannot currently be decrypted.

        2.   Based on my training, experience, and information from

  those involved in the forensic examination of digital devices,

  I know that it is not always possible to search devices for

  data during a search of the premises for a number of reasons,

  including the following:

             a.   Digital data are particularly vulnerable to

 inadvertent or intentional modification or destruction.              Thus,

 often a controlled environment with specially trained personnel

 may be necessary to maintain the integrity of and to conduct a

 complete and accurate analysis of data on digital devices, which

 may take substantial time, particularly as to the categories of

 electronic evidence referenced above.         Also, there are now so

 many types of digital devices and programs that it is difficult

 to bring to a search site all of the specialized manuals,

 equipment, and personnel that may be required.

             b.   Digital devices capable of storing multiple

 gigabytes are now commonplace.       As an example of the amount of

 data this equates to, one gigabyte can store close to 19,000

 average file size (300kb) Word documents, or 614 photos with an

 average size of 1.5MB.

        2.   The search warrant requests authorization to use the

  biometric unlock features of a device, based on the following,

  which I know from my training, experience, and review of

  publicly available materials:



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            a.    Users may enable a biometric unlock function on

 some digital devices.     To use this function, a user generally

 displays a physical feature, such as a fingerprint, face, or

 eye, and the device will automatically unlock if that physical

 feature matches one the user has stored on the device.             To

 unlock a device enabled with a fingerprint unlock function, a

 user places one or more of the user’s fingers on a device’s

 fingerprint scanner for approximately one second.            To unlock a

 device enabled with a facial, retina, or iris recognition

 function, the user holds the device in front of the user’s face

 with the user’s eyes open for approximately one second.

            b.    In some circumstances, a biometric unlock

 function will not unlock a device even if enabled, such as when

 a device has been restarted or inactive, has not been unlocked

 for a certain period of time (often 48 hours or less), or after

 a certain number of unsuccessful unlock attempts.            Thus, the

 opportunity to use a biometric unlock function even on an

 enabled device may exist for only a short time.            I do not know

 the passcodes of the devices likely to be found in the search.

            c.    Thus, the warrant I am applying for would permit

 law enforcement personnel to, with respect to any device that

 appears to have a biometric sensor and falls within the scope of

 the warrant: (1) depress ZARATE and/or Galindo’s thumb and/or

 fingers on the device(s); and (2) hold the device(s) in front of

 ZARATE and/or Galindo’s face with his eyes open to activate the

 facial-, iris-, and/or retina-recognition feature.



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        2.   Other than what has been described herein, to my

  knowledge, the United States has not attempted to obtain this

  data by other means.

                           VIII.       CONCLUSION
      75.    For all the reasons described above, there is probable

 cause to believe that ZARATE committed violations of Title 8,

 United States Code, Section 1326 (Illegal Reentry by a Removed

 Alien) and Title 21, United States Code, Section 841(a)(1)

 (Possession with the Intent to Distribute a Controlled
 Substance).

      76.    In addition, for all the reasons described above,

 there is probable cause to believe that the items listed in

 Attachment B, which constitute evidence, fruits, and

 instrumentalities of violations of the Subject Offenses will be

 found on ZARATE’s person, Galindo’s person, and in the SUBJECT

 VEHICLE, as described in Attachments A-1 through A-3.



 Attested to by the applicant in
 accordance with the requirements
 of Fed. R. Crim. P. 4.1 by
 telephone on this __VW__ day of
 March 2025.



 HONORABLE
      ABLE 0,&+$(/%.$8)0$1
 UNITED
      D STATES MAGISTRATE JUDGE
                          JUD




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